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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                   TYLER DIVISION

 UNITED STATES OF AMERICA                              §
                                                       §
 V.                                                    §               CASE NO. 6:09cr100(02)
                                                       §
 RICARDO BASALDUA GARCIA                               §

              ORDER ADOPTING THE REPORT AND RECOMMENDATION
                  OF THE UNITED STATES MAGISTRATE JUDGE


         By order, the undersigned referred this matter to the Honorable John D. Love, United States

 Magistrate Judge, at Tyler, Texas, for administration of a guilty plea under Rules 11 and 32 of the

 Federal Rules of Criminal Procedure. Judge Love conducted a hearing in the form and manner

 prescribed by Federal Rule of Criminal Procedure 11 and the Honorable John D. Love issued his

 Report and Recommendation of the United States Magistrate Judge [Clerk’s doc. #140]. The

 Magistrate Judge recommended that the Court accept Defendant’s guilty plea and conditionally

 approve his plea agreement. He further recommended that the undersigned finally adjudge

 Defendant as guilty on Count Two of the Second Superceding Indictment filed against Defendant

 in this cause.

         The parties have not objected to the magistrate judge’s findings. The Court is of the opinion

 that the Report and Recommendation should be accepted. It is accordingly ORDERED that the

 Report and Recommendation [Clerk’s doc. #140] of the United States Magistrate Judge is

 ADOPTED.




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.           It is further ORDERED that the Defendant’s guilty plea is accepted and approved by the

     Court. Further, the plea agreement is approved by the Court, conditioned upon a review of the

     presentence report. It is finally ORDERED that, pursuant to the Defendant’s plea agreement, the

     Court finds the Defendant GUILTY of Count Two of the Second Superceding Indictment in the

     above-numbered cause and enters a JUDGMENT OF GUILTY against the Defendant as to Count

     Two of the Second Superceding Indictment.

     SIGNED this 25th day of October, 2010.




                                                    ____________________________________
                                                    MICHAEL H. SCHNEIDER
                                                    UNITED STATES DISTRICT JUDGE




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